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                                                 UNITED STATES BANKRUPTCY COURT
 In re:                                          FOR THE DISTRICT OF NEW JERSEY

 NICHOLAS PEZZA,                                 Case No.: 16-33371 (RG)

                             Debtors.            Chapter 7

                                                 Honorable Rosemary Gambardella

 APPLICATION FOR ENTRY OF A CONSENT ORDER RESOLVING DISPOSITION
 OF PROPERTY OF THE ESTATE AND PAYMENT OF FUNDS TO THE ESTATE IN
           LIEU OF TURNOVER PURSUANT TO 11 U.S.C. § 542(a)

TO:       THE HONORABLE ROSEMARY GAMBARDELLA
          UNITED STATES BANKRUPTCY JUDGE

          Steven P. Kartzman, the Chapter 7 Trustee (the “Trustee”), by and through his attorneys

Mellinger Kartzman LLC, hereby applies to this Court for entry of a Consent Order Resolving

Disposition of Property of the Estate and Payment of Funds to the Estate in Lieu of Turnover

Pursuant to 11 U.S.C. § 542(a) (the “Consent Order”), and in support thereof, respectfully states:

          1.     On December 8, 2016 (the “Petition Date”), Nicholas Pezza (the “Debtor”) filed a

voluntary petition for relief under Chapter 13 of title 11 of the United States Code (the

“Bankruptcy Code”).

          2.     On April 16, 2017, the Debtor filed a motion to convert his case to one under

Chapter 11.

          3.     On August 31, 2018, the Office of the United States Trustee filed a motion to

convert or dismiss the Debtor’s case.
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       4.      On November 30, 2018, an order was entered converting the Debtor’s case to one

under Chapter 7.

       5.      On November 30, 2018, Steven P. Kartzman was appointed to serve as the

Chapter 7 Trustee, with the duties described in 11 U.S.C. § 704 to, among other things, collect

and reduce to money the property of the estate.

       6.      A 341(a) Meeting of Creditors was held on January 14, 2019. The Debtor

testified, inter alia, about assets for which there appeared to be non-exempt equity. The Trustee

advised the Debtor that the assets would be evaluated, and if there was substantial equity found,

demand would be made for the turnover of that equity.

       7.      After a review of the documents provided by the Debtor and testimony obtained

from the Debtor it was determined that there was non-exempt equity in the amount of $25,463 in

certain assets as of the conversion date.

       8.      In calculating the proper amount to demand from the Debtor the Trustee reduced

the $25,463 by $10,340.48 representing funds turned over to the Trustee by TD Bank, N.A., as

well as by $5,555.77 representing checks paid by customers of the Debtor’s landscaping business

which were subsequently turned over to the Trustee.

       9.      On April 11, 2020 the Trustee sent a turnover demand letter to the Debtors’

attorney demanding a net turnover of $9,566.75, which represents the non-exempt equity

remaining in the Debtor’s scheduled assets.

       10.     Numerous communications took place between the Trustee and the Debtor’s

attorney, Mr. Bonomo, and a settlement agreement on a payment plan was ultimately reached.

Subsequently, the Trustee and the Debtor entered into the Consent Order.

       11.     Pursuant to the pertinent terms of the Consent Order, the Debtor shall pay to the
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Trustee the sum of $9,566.75, to be paid in six (6) monthly installments of $1,594.46 beginning

with a payment on June 1, 2020.

       12.     The Trustee believes that the settlement is in the best interest of the estate, as it

will avoid the necessity of fees, expense and delays attendant with further litigation, and the

amount to be paid by the Debtor represents the non-exempt portion of the amount demanded.

       13.     No prior application for the relief requested herein has been made to this or any

other court.

       WHEREFORE, the Trustee respectfully requests that the Court enter the proposed Order

submitted simultaneously herewith and for such other and further relief as is just.

                                              Respectfully Submitted,

                                              MELLINGER, KARTZMAN LLC
                                              Attorneys for Steven P. Kartzman
                                              as Chapter 7 Trustee


                                              By: /s/ Judah B. Loewenstein, Esq.
                                                     JUDAH B. LOEWENSTEIN
Dated: June 1, 2020
